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                                1    BRIAN T. HARVEY (SBN: 238991)
                                     NICHOLAS S. COUCHOT (SBN: 331971)
                                2    BUCHALTER, a Professional Corporation
                                     1000 Wilshire Boulevard, Suite 1500                          FILED & ENTERED
                                3    Los Angeles, CA 90017-1730
                                     Telephone: (213) 891-0700
                                4    Facsimile: (213) 896-0400                                         SEP 12 2022
                                     Email: bharvey@buchalter.com
                                5    ncouchot@buchalter.com
                                                                                                  CLERK U.S. BANKRUPTCY COURT
                                                                                                  Central District of California
                                6                                                                 BY gonzalez DEPUTY CLERK
                                     Attorneys for Secured Creditor
                                7    ROYAL BUSINESS BANK
                                8                           UNITED STATES BANKRUPTCY COURT

                                9                            CENTRAL DISTRICT OF CALIFORNIA

                           10                                         LOS ANGELES DIVISION

                           11        In re                                              Case No. 2:21-bk-16674-ER
                           12        JINZHENG GROUP (USA) LLC,                          Chapter 11
                           13                           Debtor.                         ORDER APPROVING STIPULATION
                                                                                        RESOLVING MOTIONS FOR RELIEF
                           14                                                           FROM THE AUTOMATIC STAY
                                                                                        (REAL PROPERTY) FILED BY:
                           15
                                                                                        (1) CORONA CAPITAL GROUP, LLC
                           16                                                           [DKT. 320]; AND
                           17                                                           (2) ROYAL BUSINESS BANK [DKT.
                                                                                        333]
                           18

                           19                                                           Hearing
                                                                                        Date:        September 14, 2022
                           20                                                           Time:        11:00 AM
                                                                                        Place:       United States Bankruptcy Court
                           21                                                                        Courtroom 1568
                                                                                                     255 East Temple Street
                           22                                                                        Los Angeles, California 90012
                           23
                                             The Court having considered the Stipulation Resolving Motions for Relief from the
                           24
                                    Automatic Stay (Real Property) Filed by: (1) Corona Capital Group, LLC [Dkt. 320]; and (2)
                           25
                                    Royal Business Bank [Dkt. 333] (the “Stipulation”), and all other related pleadings, hereby
                           26
                                    ORDERS as follows:
                           27

                           28          ___________________________________________________________________________________________
 BUCHALTER NEMER
                                            ORDER APPROVING STIPULATION RESOLVING MOTIONS FOR RELIEF FROM THE
A PROFES SION AL CORPORAT ION                                     AUTOMATIC STAY (REAL PROPERTY)
        LOS ANG ELES
                                                                                   1
                                    BN 72709479v1
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                                1              1.       The Stipulation is approved in its entirety.
                                2              2.       The Corona RFS Motion1 is granted, in part, pursuant to 11 U.S.C. § 362(d)(2), and
                                3   the automatic stay of 11 U.S.C. § 362(a) is terminated as to the Debtor and the Debtor’s bankruptcy
                                4   estate to allow Corona to enforce its rights and remedies with regard to the Property in accordance
                                5   with applicable nonbankruptcy law. However, Corona shall not record and serve a notice of default,
                                6   or, except as provided herein, take other action that would otherwise be stayed under 11 U.S.C. §
                                7   362(a), until ninety days (90) days after the date of entry of this order. As requested in page 5A
                                8   (Continuation Page) of the Corona RFS Motion, and effective upon the date of entry of this order,
                                9   pursuant to 11 U.S.C. § 362(d)(1) the automatic stay of 11 U.S.C. § 362(a), if any, that precludes
                           10       Corona from making payment(s) to Royal shall be terminated as to Debtor and Debtor’s bankruptcy
                           11       estate. Neither the Stipulation nor this order resolves or determines the issues of whether Royal is
                           12       required to accept reinstatement of the Royal Note or whether an incurable default exists as to the
                           13       transfer of the Property to Debtor.
                           14                  3.       The Royal RFS Motion is granted, in part, pursuant to 11 U.S.C. § 362(d)(2), and
                           15       the automatic stay of 11 U.S.C. § 362(a) is terminated as to the Debtor and the Debtor’s bankruptcy
                           16       estate to allow Royal to enforce its rights and remedies with regard to the Property in accordance
                           17       with applicable nonbankruptcy law. However, Royal shall not record and serve a notice of default,
                           18       or, except as provided herein, take other action that would otherwise be stayed under 11 U.S.C. §
                           19       362(a), until ninety days (90) days after the Court enters this order.
                           20                  4.       Notwithstanding the foregoing, if the Debtor executes a purchase agreement with
                           21       respect to the Property, escrow is open and the sale has not been terminated, then the time frame
                           22       that Royal and Corona may not record and serve a notice of default is extended by an additional
                           23       sixty (60) days to afford the Debtor additional time to close the pending sale. If at any point during
                           24       the additional sixty (60) day period the sale is terminated, then Corona and Royal may immediately
                           25       record and serve a notice of default. However, the additional time provided for by this paragraph
                           26

                           27       1
                                        Capitalized terms not defined herein shall have the same meaning ascribed to them in the Stipulation.

                           28            ___________________________________________________________________________________________
 BUCHALTER NEMER
                                              ORDER APPROVING STIPULATION RESOLVING MOTIONS FOR RELIEF FROM THE
A PROFES SION AL CORPORAT ION                                       AUTOMATIC STAY (REAL PROPERTY)
        LOS ANG ELES
                                                                                                2
                                    BN 72709479v1
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                                1   will not exceed sixty (60) days minus the time that remains in the original ninety (90) day periods
                                2   in Paragraphs 2 and 3 above.
                                3           5.      The Stipulation and this order are binding and effective despite any conversion of
                                4   this bankruptcy case to a case under any other chapter of Title 11 of the United States Code.
                                5           6.      The 14-day stay as provided in FRBP 4001(a)(3) is waived.
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                           24 Date: September 12, 2022

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                           27

                           28          ___________________________________________________________________________________________
 BUCHALTER NEMER
                                            ORDER APPROVING STIPULATION RESOLVING MOTIONS FOR RELIEF FROM THE
A PROFES SION AL CORPORAT ION                                     AUTOMATIC STAY (REAL PROPERTY)
        LOS ANG ELES
                                                                                     3
                                    BN 72709479v1
